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                     IN THE UNITED STATES DISTRICT COURT


                    FOR THE SOUTHERN DISTRICT OF GEORGIA


                                 AUGUSTA DIVISION


QUAME LAMAR COLLINS,

             Plaintiff,

      V.                                               CV 120-092


KA.TIE YOUNG,Nurse;
STACY WILLIAMS, Nurse;
ALFONZO WILLIAMS, Sheriff;
CHESTER V. HUFFMAN,Major;
JOHN H. BUSH, Major; and
CASSANDRA HAYNES, Captain,

             Defendants.



                                        ORDER




      After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed. (Doc. no. 12.)

Accordingly, the Court ADOPTS the Report and Recommendation of the Magistrate Judge

as its opinion. Therefore, the Court DISMISSES Plaintiffs complaint for failure to state a

claim upon which relief may be granted and CLOSES this civil action.

      SO ORDERED this             day of November, 2020, at Augusta, Georgia.




                                         J. RAl^L HALL,CHIEF JUDGE
                                         UNIT^ STATES DISTRICT COURT
                                              'HERN DISTRICT OF GEORGIA
